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                           UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

IN RE:                                                 )
                                                       )        Chapter 7
DEBORAH WEDDINGTON,                                    )
                                                       )        Case Number 16-71002
         Debtor.                                       )
                                                       )
JOHN P. FITZGERALD, III,                               )
Acting United States Trustee For Region Four,          )
                                                       )
         Movant,                                       )
                                                       )
v.                                                     )
                                                       )
DARREN T. DELAFIELD,                                   )
LAW SOLUTIONS CHICAGO LLC, and                         )
UPRIGHT LAW LLC,                                       )
                                                       )
         Respondents.                                  )


              STIPULATION AND ORDER RESOLVING CONTESTED MATTER


         The parties have agreed to resolve the motion to review fees filed in this case pursuant to

the terms of this Stipulation and Order. Parties in interest were served as set forth in the certificate

of service attached to the notice and given notice of the opportunity to object to the entry of this

Stipulation and Order. With the consent of the parties, it is

                                             ORDERED

that, within 7 days of entry of this Order, the Respondents shall issue payment of $300.00 to the

Debtor either electronically or by check mailed to the Debtor’s last known address. It is further

                                             ORDERED

that, within 10 days of entry of this Order, the Respondents shall provide a verified certification to

the United States Trustee concerning compliance with this Order, which requirement may be
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satisfied by the filing of a certification that Respondents have sent payment to Debtor’s last-known

address. It is further

                                            ORDERED

that the motion to review fees [Docket No. 11] is dismissed. It is further

                                            ORDERED

that the Clerk shall not close the case until the earlier of: (i) the Respondents file a verified

certification that the Debtor has actually received the $300.00 within 95 days from the entry of this

Order; or (ii) the Respondents, because more than 90 days have passed since issuance of any check

and such check remains uncashed, pay the $300.00 into the Court to be disposed of in accordance

with 28 U.S.C. § 2041 et seq.

        The United States Trustee is directed to serve copies of this order on all parties in

interest shown on the mailing matrix maintained by the Clerk for this case.

        Enter: May 29, 2018
                                                      ____________________________________
                                                      United States Bankruptcy Court Judge
REQUESTED:
United States Trustee
By: /s/ W. Joel Charboneau
W. Joel Charboneau (VSB #68025)
210 First Street, S.W., Suite 505
Roanoke, Virginia 24011
Telephone: (540) 857-2699
joel.charboneau@usdoj.gov
Counsel for the United States Trustee

SEEN:
Darren Delafield; Upright Law, LLC; Law
Solutions Chicago, LLC
By: /s/ Christopher W. Stevens
Christopher W. Stevens (VSB No. 41931)
Woods Rogers PLC
P.O. Box 14125
Roanoke, VA 24038-4125
Telephone: (540) 983-7600
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